       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. James Edward Mercer
        v. Commonwealth of Virginia
        Record No. 1897-14-2
        Opinion rendered by Judge Humphreys on
         March 22, 2016

    2. Juan Daniel Vaca Diez Nunez
        v. Commonwealth of Virginia
        Record No. 0221-15-4
        Opinion rendered by Judge McCullough on
         March 22, 2016

    3. Naa Lamiley Williams
        v. Capital Hospice and Companion Property &amp; Casualty Insurance Company
        Record No. 0947-15-4
        Opinion rendered by Judge Humphreys on
        March 29, 2016

    4. Charles Staton
        v. The Brothers Signal Company and Commonwealth Contractors Group Self-Insurance
          Association
        Record No. 1304-15-4
        Opinion rendered by Senior Judge Haley on
        April 5, 2016

    5. Derek Justice Doggett
       v. Commonwealth of Virginia
       Record No. 0548-15-2
       Opinion rendered by Judge Beales on
        April 12, 2016

    6. Scott Farver Morehead
        v. Commonwealth of Virginia
        Record No. 2225-14-1
        Opinion rendered by Senior Judge Felton on
        April 19, 2016
7. Shawanda S. Thorne
    v. Commonwealth of Virginia
    Record No. 0701-15-1
    Opinion rendered by Judge Decker on
    April 19, 2016
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Julie A. Rubino
    v. Justin Rubino
   Record No. 0595-14-1
    Opinion rendered by Judge Humphreys
     on January 20, 2015
    Dismissed pursuant to Code § 17.1-410(A)(3) and (B) (150277)

2. Loren Anthony Mason, Jr.
   v. Commonwealth of Virginia
   Record No. 1542-13-2
   En Banc opinion rendered by Judge Kelsey
    on February 3, 2015
   Judgment of Court of Appeals affirmed by opinion rendered
      on May 5, 2016 (150372)

3. James Rush
    v. University of Virginia Health System/Commonwealth of Virginia
   Record No. 1886-14-3
    Opinion rendered by Judge McCullough
     on March 31, 2015
    Dismissed pursuant to Code § 17.1-410(A)(2) and (B) (150760)

4. Robert Allen Wilkins
   v. Commonwealth of Virginia
   Record No. 0682-14-1
   Opinion rendered by Judge Beales
     on May 12, 2015
   Judgment of Court of Appeals affirmed by opinion rendered on
     June 2, 2016
    (151068)
      The Supreme Court issued an opinion in the following case, which had been appealed
from this Court:

   1. Jayvon Lartay Bass
      v. Commonwealth of Virginia
      Record No. 1442-14-2
      Memorandum opinion rendered by Senior Judge Clements on July 7, 2015
      Judgment of Court of Appeals reversed and final judgment entered in accord
      with jury verdict and sentencing order by opinion rendered on June 2, 2016
       (151163)
